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                                                     United States District Court
                                                     Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.            ED 17-239 PA

 Defendant     Melvin Edwards, III                                        Social Security No. 3         3   0    0
       Nelson, Wayne; Lewis, Melvin; Franklin, Robert;
       Mimms, Rodney Terrell; Jones, Jeffrey Jay;                         (Last 4 digits)
 akas: Edwards, Jack; Edwards, Melvin Thaj


                                        JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                 MONTH   DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.   Aug       06   2018



  COUNSEL                                                                David R. Reed
                                                                         (Name of Counsel)

     PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                            CONTENDERE
                                                                                                                                GUILTY
  FINDING         There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                  Felon in Possession of Firearm and Ammunition in violation of 18 U.S.C. § 922(g)(1), 18 U.S.C. § 924(a)(2) as
                  charged in Count 1 of the Single-Count Indictment.
JUDGMENT
AND PROB/
  COMM    The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
  ORDER   contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
          Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Melvin Edwards, is hereby
          committed on the single-count Indictment to the custody of the Bureau of Prisons for a term of 70 months.



Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following
terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation Office and General Order 05-02,
            with the exception of Standard Conditions 5, 6, and 14 of that order.

         2. As directed by the probation officer, the defendant shall notify specific persons and organizations of specific risks
            associated with his criminal record and shall permit the probation officer to confirm the defendant’s compliance with such
            requirement and to make such notifications.

         3. During the period of community supervision, the defendant shall pay the special assessment in accordance with this
            judgment's orders pertaining to such payment.

         4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
            within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month,
            as directed by the Probation Officer.

         5. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis,
            breath and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using alcohol
            and illicit drugs, and from abusing prescription medications during the period of supervision.

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         6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment to the
            aftercare contractors during the period of community supervision. The defendant shall provide payment and proof of
            payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

         7. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any
            other form of identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name
            other than his true legal name without the prior written approval of the Probation Officer.

         8. When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, the defendant
            shall perform 20 hours of community service per week as directed by the Probation Office.

         9. The defendant shall cooperate in the collection of a DNA sample from the defendant.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to facilitate
the defendant's treatment for narcotic addiction, drug, or alcohol dependency. Further redisclosure of the Presentence Report by the
treatment provider is prohibited without the consent of the sentencing judge.

The Court recommends that the Bureau of Prisons consider the defendant for placement in its 500-hour Residential Drug Abuse
Program

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and
is not likely to become able to pay any fine.

Defendant advised of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




                   August 06, 2018
            Date                                                  U. S. District Judge


 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            August 06, 2018                                 By    Kamilla Sali-Suleyman
            Filed Date                                            Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).



                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
                                                                                       activity, and shall not associate with any person convicted of a felony
 2.    the defendant shall not leave the judicial district without the written         unless granted permission to do so by the probation officer;
       permission of the court or probation officer;
                                                                                 11.   the defendant shall permit a probation officer to visit him or her at any
 3.    the defendant shall report to the probation officer as directed by the          time at home or elsewhere and shall permit confiscation of any
       court or probation officer and shall submit a truthful and complete             contraband observed in plain view by the probation officer;
       written report within the first five days of each month;
                                                                                 12.   the defendant shall notify the probation officer within 72 hours of
 4.    the defendant shall answer truthfully all inquiries by the probation            being arrested or questioned by a law enforcement officer;
       officer and follow the instructions of the probation officer;
                                                                                 13.   the defendant shall not enter into any agreement to act as an informer
 5.    the defendant shall support his or her dependents and meet other                or a special agent of a law enforcement agency without the permission
       family responsibilities;                                                        of the court;

 6.    the defendant shall work regularly at a lawful occupation unless          14.   as directed by the probation officer, the defendant shall notify third
       excused by the probation officer for schooling, training, or other              parties of risks that may be occasioned by the defendant’s criminal
       acceptable reasons;                                                             record or personal history or characteristics, and shall permit the
                                                                                       probation officer to make such notifications and to conform the
 7.    the defendant shall notify the probation officer at least 10 days prior         defendant’s compliance with such notification requirement;
       to any change in residence or employment;
                                                                                 15.   the defendant shall, upon release from any period of custody, report
 8.    the defendant shall refrain from excessive use of alcohol and shall not         to the probation officer within 72 hours;
       purchase, possess, use, distribute, or administer any narcotic or other
       controlled substance, or any paraphernalia related to such substances,    16.   and, for felony cases only: not possess a firearm, destructive device,
       except as prescribed by a physician;                                            or any other dangerous weapon.

 9.    the defendant shall not frequent places where controlled substances
       are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.



          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.



          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).



         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).



           Payments shall be applied in the following order:



                       1. Special assessments pursuant to 18 U.S.C. §3013;

                       2. Restitution, in this sequence:

                                  Private victims (individual and corporate),

                                  Providers of compensation to private victims,

                                  The United States as victim;

                       3. Fine;

                       4. Community restitution, pursuant to 18 U.S.C. §3663(c); and

                       5. Other penalties and costs.



                                   SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE



          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.


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                                                                     RETURN



 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE



 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY

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Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.



         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




         (Signed)

                     Defendant                                                    Date




                     U. S. Probation Officer/Designated Witness                   Date




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